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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

_________________________________________
                                          )
In re:                                    )                            Chapter 11
                                          )
SOUTHERN FOODS GROUP, LLC, et al.,        )                            Case No. 19-36313 (DRJ)
                                          )
            Debtors. 1                    )                            Jointly Administered
                                          )
_________________________________________ )

   NOTICE OF PROPOSED ASSUMPTION AND ASSIGNMENT OF EXECUTORY
   CONTRACTS AND UNEXPIRED LEASES FOR PRAIRIE FARMS DAIRY, INC.
______________________________________________________________________________

       PLEASE TAKE NOTICE that Southern Foods Group, LLC, Dean Foods Company,
and their debtor affiliates (collectively, the “Debtors”) each filed a voluntary petition for relief
under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United
States Bankruptcy Court for the Southern District of Texas (the “Court”) on November 12,
2019.

        PLEASE TAKE FURTHER NOTICE that, on March 19, 2020, the Court entered an
order, among other things, (a) approving the bidding procedures for sales of the Debtors’ assets,
(b) scheduling a hearing to approve the sales of the Debtors’ assets, (c) approving the form and
manner of notices of sales and sale hearing, (d) approving assumption and assignment
procedures, and (e) granting related relief [Docket No. 1178] (the “Bidding Procedures
Order”).


          1
            The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods
Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty,
LLC (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information
Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751); Dean
Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390); Dean
Intellectual Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean Management, LLC
(7782); Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896);
Dean West II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners,
LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin
Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s
Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest
Ice Cream Company, LLC (0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC
(7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039);
Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan,
LLC (7200). The debtors’ mailing address is 2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.
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       PLEASE TAKE FURTHER NOTICE that, on March 19, 2020, the Debtors filed and
served upon each non-Debtor counterparty to a contract or lease a notice [Docket No. 1183] (the
“Potential Assumed Contracts Schedule”) of the potential assumption and assignment of the
contract or lease and of the amounts necessary to cure any defaults under the contract or lease
pursuant to section 365(b) of the Bankruptcy Code (the “Cure Costs”). The deadline (April 1,
2020 at 12:00 p.m. (prevailing Central Time)) to file an objection to the Cure Costs of any
contract and lease listed on the Potential Assumed Contracts Schedule has expired.

        PLEASE TAKE FURTHER NOTICE that, on April 7, 2020, the Court entered an
order, among other things, (a) authorizing the sale of certain assets to Prairie Farms Dairy, Inc.
(the “Buyer”) free and clear of all claims, liens, interests, and encumbrances, (b) authorizing the
Debtors to enter into and perform their obligations under the asset purchase agreement and
related documents, and (c) granting related relief [Docket No. 1594] (the “Sale Order”). 2

        PLEASE TAKE FURTHER NOTICE that, in accordance with the Sale Order, attached
hereto is the Proposed Assumed Contracts Schedule for the Sale Transaction.

       PLEASE TAKE FURTHER NOTICE that you are receiving this Notice because you
have been identified as a non-debtor counterparty to an executory contract or unexpired lease
proposed for assumption and assignment under section 365 of the Bankruptcy Code (each an
“Assigned Contract”). The assumption and assignment of the Assigned Contracts is not
guaranteed and is subject to approval by the Court and the Debtors’ or Buyer’s right to
remove an Assigned Contract from the Proposed Assumed Contracts Schedule in
accordance with the modification procedures set forth below.

        PLEASE TAKE FURTHER NOTICE that certain Assigned Contracts listed on the
Proposed Assumed Contracts Schedule may not have been included on the Potential Assumed
Contracts Schedule, including Assigned Contracts entered into post-petition. As such, and out of
an abundance of caution, those certain Assigned Contracts are listed with Cure Costs (if any) as
of March 19, 2020. Each counterparty to an Assigned Contract listed with a Cure Cost shall have
until seven days from the date hereof to object to the Cure Costs (a “Supplemental Cure Costs
Objection”), which objection must (a) be in writing, (b) comply with the Bankruptcy Code,
Bankruptcy Rules, and Local Rules, (c) state, with specificity, the legal and factual bases thereof,
and (d) be filed with the Court and be served on the Objection Notice Parties. For the avoidance
of doubt, nothing in this Notice extends the deadline to object to the Cure Costs listed on the
Potential Assumed Contracts Schedule.

        PLEASE TAKE FURTHER NOTICE that each counterparty to an Assigned Contract
set forth in the Proposed Assumed Contracts Schedule shall have until April 30, 2020 at 11:59
p.m. (prevailing Central Time) to object to whether adequate assurance of future performance
by the Buyer has been provided (an “Adequate Assurance Objection”), which objection must
(a) be in writing, (b) comply with the Bankruptcy Code, Bankruptcy Rules, and Local Rules, (c)

        2
          Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Sale Order.



                                                       2
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state, with specificity, the legal and factual bases thereof, (d) be filed with the Court and be
served on (i) counsel to the Debtors, (A) Davis Polk & Wardwell LLP, 450 Lexington Avenue,
New York, New York 10017, Attn: Brian M. Resnick, Steven Z. Szanzer, and Nate Sokol and
(B) Norton Rose Fulbright US LLP, 1301 McKinney Street, Suite 5100, Houston, Texas 77010,
Attn: William Greendyke, Jason L. Boland, Robert B. Bruner, and Julie Harrison, (ii) counsel to
the DIP Agent and the Prepetition Agent, (A) White & Case LLP, 1221 Avenue of the Americas,
New York, NY 10020, Attn: Scott Greissman, Philip Abelson, and Elizabeth Feld and (B) Gray
Reed, 1300 Post Oak Blvd, Suite 2000, Houston, TX 77056, Attn: Jason S. Brookner,
(iii) counsel to the Committee, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New
York, NY 10036, Attn: Philip Dublin and Meredith Lahaie, (iv) counsel to the Buyer, (A)
Shearman & Sterling LLP, 599 Lexington Avenue, New York, NY 10022 Attn: Fredric Sosnick
and Foteini Teloni and (B) Shearman & Sterling LLP, 2828 North Harwood Street, 18th floor,
Dallas, Texas 75201, Attn: Ian E. Roberts, and (v) the U.S. Trustee (the “Objection Notice
Parties”).


       PLEASE TAKE FURTHER NOTICE that the Debtors (in consultation with the
Consultation Parties), the Buyer, and the applicable counterparty to an Assigned Contract may
resolve all Contract Objections (including Adequate Assurance Objections) by stipulation to be
presented to the Court under certification of counsel. If the Debtors (in consultation with the
Consultation Parties), the Buyer, and the applicable counterparty to an Assigned Contract are
unable to resolve a Contract Objection, the Debtors shall schedule the matter for a hearing before
the Court to be held on the next regularly scheduled hearing date or such other date that is
agreeable to Debtors, the Buyer, and the applicable counterparty to the Assigned Contract.

        PLEASE TAKE FURTHER NOTICE that, if no Contract Objection is, or is deemed to
be, timely filed with respect to a particular Assigned Contract, the Debtors may submit an order
to the Court seeking assumption and assignment of such Assigned Contract under certification of
counsel.

                   Modification of Proposed Assumed Contracts Schedule

        At or prior to the Closing, the Buyer may elect, in its sole and absolute discretion, to
(a) exclude any contract or lease on the Proposed Assumed Contracts Schedule (in which case it
shall become an Excluded Contract as applicable), provided that such exclusions will not reduce
the purchase price to be paid by the Buyer, or (b) include on the Proposed Assumed Contracts
Schedule any contract or lease of any of the Debtors.

       If the Debtors or the Buyer identifies during the pendency of the Chapter 11 Cases
(before the Closing) any contract or lease that is not listed on the Proposed Assumed Contracts
Schedule, and such contract or lease has not been rejected by the Debtors, the Buyer may in its
sole and absolute discretion elect by written notice to the Debtors to treat such contract or lease
as an Assigned Contract, and the Debtors shall seek to assume and assign such Assigned
Contract in accordance with the supplemental procedures set forth below.




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        The Debtors reserve the right, at any time before the Closing, to modify the previously-
stated Cure Costs associated with any Assigned Contract, with the consent of the Buyer and
subject to the supplemental notice requirements set forth below.

       In the event that any contract or lease is added to the Proposed Assumed Contracts
Schedule and is deemed an Assigned Contract, or previously-stated Cure Costs are modified, the
Debtors will promptly file and serve a supplemental assumption and assignment notice on the
applicable counterparty (each, a “Supplemental Assumption and Assignment Notice”), and
otherwise timely notify the Consultation Parties. Each Supplemental Assumption and
Assignment Notice will include the same information with respect to the applicable Assigned
Contract as is required to be included in the Potential Assumed Contracts Schedule and the
Proposed Assumption and Assignment Notice.

       Any counterparty listed on a Supplemental Assumption and Assignment Notice whose
Assigned Contract is proposed to be assumed and assigned may object to the proposed
assumption or assignment of its Assigned Contract, the Debtors’ proposed Cure Costs (to the
extent modified from the previously-stated amount in the Potential Assumed Contracts
Schedule), or the ability of the Buyer to provide adequate assurance of future performance (a
“Supplemental Assumption and Assignment Objection”). All Supplemental Assumption and
Assignment Objections must (a) be in writing, (b) comply with the Bankruptcy Code,
Bankruptcy Rules, and Local Rules, (c) state, with specificity, the legal and factual bases thereof,
including, if applicable, the Cure Costs the counterparty believes is required to cure defaults
under the relevant Assigned Contract, and (d) no later than seven days from the date of filing of
such Supplemental Assumption and Assignment Notice, (i) be filed with the Court and (ii) be
served on the Objection Notice Parties. Each Supplemental Assumption and Assignment
Objection, if any, shall be resolved in the same manner as a Contract Objection.

                               Obtaining Additional Information

       Copies of the Bidding Procedures Order, the Sale Order (including the APA), the
Potential Assumed Contracts Schedule, and this Notice are available free of charge on the
Debtors’ case information website, located at https://dm.epiq11.com/SouthernFoods or can be
requested by e-mail at DeanInfo@epiqglobal.com.



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Dated:   April 23, 2020
         Houston, Texas
                                 Respectfully submitted,
                                 NORTON ROSE FULBRIGHT US LLP

                                 /s/ William R. Greendyke
                                  William R. Greendyke (SBT 08390450)
                                  Jason L. Boland (SBT 24040542)
                                  Robert B. Bruner (SBT 24062637)
                                  Julie Goodrich Harrison (SBT 24092434)
                                  1301 McKinney Street, Suite 5100
                                  Houston, Texas 77010-3095
                                  Tel.: (713) 651-5151
                                  Fax: (713) 651-5246
                                  william.greendyke@nortonrosefulbright.com
                                  jason.boland@nortonrosefulbright.com
                                  bob.bruner@nortonrosefulbright.com
                                  julie.harrison@nortonrosefulbright.com

                                 -and-

                                 DAVIS POLK & WARDWELL LLP

                                 Brian M. Resnick (admitted pro hac vice)
                                 Steven Szanzer (admitted pro hac vice)
                                 Nate Sokol (admitted pro hac vice)
                                 450 Lexington Avenue
                                 New York, New York 10017
                                 Tel.: (212) 450-4000
                                 Fax: (212) 701-5800
                                 brian.resnick@davispolk.com
                                 elliot.moskowitz@davispolk.com
                                 steven.szanzer@davispolk.com
                                 nathaniel.sokol@davispolk.com

                                 Counsel to the Debtors and Debtors in Possession
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                                                               Proposed Assumed Contract Schedule
   Item*                       Counterparty                                           Debtor(s)                              Contract Description
             AAL ORGANIC MATTERS LLC
             ATTN JOE M BORGES
   150
             975 CR 356
             DUBLIN, TX 76446                                            Southern Foods Group, LLC       PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 07/29/2016
             ADVANCED DISPOSAL SERVICES ALABAMA LLC
             ATTN CRISTIE GRAY, BROKER REP
   191
             1303 WASHINGTON BLVD
             TALLASSEE, AL 36078                                         Dean Dairy Holdings, LLC        PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 10/29/2015
             ADVANCED DISPOSAL SERVICES GULF COAST LLC
             ATTN NIKKI HARRIS, SALES COORDINATOR
   193
             14339 HUDSON KROHN RD
             BILOXI, MS 39532                                            Southern Foods Group, LLC       PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 04/23/2015
             ADVANCED DISPOSAL SERVICES INC
             ATTN MELANIE MILLER, BUSINESS SALES
   194
             1101 HAWKINS ST
             VALDOSTA, GA 31601                                          Suiza Dairy Group, LLC          PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 08/15/2016
             ADVANCED DISPOSAL SERVICES SOUTHEAST INC
             ATTN AUTUMN TRIMM, SALES COORDINATOR
   195
             3301 ACMAR RD
             MOODY, AL 35004                                             Dean Dairy Holdings, LLC        PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 11/12/2015
             ADVANCED DISPOSAL SERVICES SOUTHEAST LLC
             ATTN LEAH S MCMAHON, BROKER SALES COORDINATOR
   196       2015 VETERANS PKWY
             COLUMBUS, GA 31904
                                                                         Dean Dairy Holdings, LLC        PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 11/24/2015
             ALEX C FERGUSSON LLC
             ATTN MIKE HINKLE
   299
             5121 COFFEY AVE
             CHAMBERSBURG, PA 17201                                      Dean Foods Company              THIRD PARTY PROVIDER (BENEFITS, PAYROLL, FREIGHT)
             ALEX C FERGUSSON LLC
             ATTN MIKE HINKLE
   300
             5121 COFFEY AVE
             CHAMBERSBURG, PA 17201                                      Dean Foods Company              LEASE: EQUIPMENT
             AMERICAN PAPER RECYCLING CORP
             ATTN RON SMITH, PLANT MANAGER
   397
             615 PRIOR AVE N
             SAINT PAUL, MN 55104                                        Dean Foods North Central, LLC   PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 05/12/2015
             AMERIPRIDE SERVICES INC
   443       PO BOX 2033
             BISMARCK, ND 58502                                          Dean Foods Company              LEASE: EQUIPMENT DATED 02/02/2009
             AMSOUTH BANK
             C/O TRUST REAL ESTATE DEPT
   457       ATTN CAROLYN W IVIE, VP
             PO BOX 10463
             BIRMINGHAM, AL 35209                                        Dean Dairy Holdings, LLC        LEASE: BUILDING AND LAND DATED 03/04/2005
             ANSTINE, JAMES H
   466       12631 220TH ST
             PARK RAPIDS, MN 56470                                       Dean Foods Company              LEASE: BUILDING AND LAND DATED 01/31/2011
             ANSTINE, RHONDA F
   467       12631 220TH ST
             PARK RAPIDS, MN 56470                                       Dean Foods Company              LEASE: BUILDING AND LAND DATED 01/31/2011
             AUTOMATED MAINTENANCE SYSTEMS INC
   559       3615 SEGER DR
             RAPID CITY, SD 57701                                        Dean Foods Company              MAINTENANCE: EQUIPMENT DATED 05/30/2019
              B & C TRUCK SERVICE INC
             ATTN PRESIDENT
   573
             255 CORDOVA CUT OFF RD
             JASPER, AL 35501                                            Dean Dairy Holdings, LLC        LEASE: BUILDING AND LAND DATED 12/28/2015
              B & C TRUCK SERVICE INC
             ATTN PRESIDENT
   574
             255 CORDOVA CUT OFF RD
             JASPER, AL 35501                                            Dean Dairy Holdings, LLC        LEASE: BUILDING AND LAND DATED 10/01/2005
              B & C TRUCK SERVICE INC
             ATTN PRESIDENT
   575
             255 CORDOVA CUT OFF RD
             JASPER, AL 35501                                            Dean Dairy Holdings, LLC        LEASE: BUILDING AND LAND DATED 03/31/2005

                                                                                                                                                             Page 1 of 15
*Corresponds to the Item No. listed on the Potential Assumed Contracts Schedule [Docket No. 1183].
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                                                 Proposed Assumed Contract Schedule
Item                         Counterparty                             Debtor(s)                              Contract Description
       B & J CYCLE
       ATTN MIKE WILLUWEIT
579
       1117 W HWY 18
       WINNER, SD 57580                                  Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 06/21/2013
       B&B DISTRIBUTORS INC
       ATTN JOHN BLANTON
582
       PO BOX 276
       STAFFORDSVILLE, KY 41256                          Suiza Dairy Group, LLC          DISTRIBUTION AGREEMENT DATED 04/13/2009
       B&D RENTALS
       ATTN DENNIS NESS
583
       4605 DOUGLAS ST
       GARRISON, ND 58540                                Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 08/17/2017
       B&D RENTALS
       ATTN DENNIS NESS
584
       4605 DOUGLAS ST
       GARRISON, ND 58540                                Dean Foods North Central, LLC   LEASE: BUILDING AND LAND
       B&D RENTALS
       ATTN DENNIS NESS
585
       4605 DOUGLAS ST
       GARRISON, ND 58540                                Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 09/30/2008
       B&D RENTALS
       ATTN DENNIS NESS
586
       4605 DOUGLAS ST
       GARRISON, ND 58540                                Dean Foods North Central, LLC   LEASE: BUILDING AND LAND
       B&D RENTALS
       ATTN DENNIS NESS
587
       4605 DOUGLAS ST
       GARRISON, ND 58540                                Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 09/15/2014
       BFI WASTE SERVICE LLC
       D/B/A REPLUBLIC SERVICES OF BIRMINGHAM
791    ATTN LARRY K MCGEE
       3950 SOUTH ST SW
       BIRMINGHAM, AL 35221                              Dean Dairy Holdings, LLC        PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 10/29/2015
        BILL DIXON
808    155 NORTH HOOD ROAD
       LAWRENCEBURG, TN 38464                            Dean Foods Company              INDEPENDENT PRODUCER CONTRACT
       BLACKJACK RIDGE DAIRY
826    7500 GORDON LAWRENCE ROAD
       SANTA FE, TN 38482                                Dean Foods Company              INDEPENDENT PRODUCER CONTRACT
       BOTTEM, TODD
905    PO BOX 408
       THIEF RIVER FALLS, MN 56701                       Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 01/01/2013
        CENEX ANHYDROUS PLANT
       1304 HWY 5 W
1193
       INDUSTRIAL PARK RD
       CAVALIER, ND 58220                                Dean Foods Company              LEASE: BUILDING AND LAND
       CENTRAL WATER CONDITIONING SERVICE
       ATTN GENE KRUCKENBERG
1217
       616 W BOWEN AVE                                                                   THIRD PARTY PROFESSIONAL (E.G., LAWYERS, CONSULTANTS,
       BISMARCK, ND 58504-5346                           Dean Foods Company              AUDITORS, ETC.)
        CHS INC
1307   5500 CENEX DR
       INVER GROVE HTS, MN 55077                         Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 12/03/2010
       CINTAS
1327   PO BOX 631025
       CINCINNATI, OH 45263-1025                         Southern Foods Group, LLC       LEASE: EQUIPMENT
       CJF PROPERTY HOLDING LLC
       ATTN JASON FOSTER
1404
       116 MOONLITE DR
       SMITHFIELD, PA 15478                              Suiza Dairy Group, LLC          LEASE: BUILDING AND LAND
       CNT PROPERTIES LLC
       ATTN DRU LARSON
1455
       746 CRAIG AVE
       TRACY, MN 56175                                   Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 04/04/2018



                                                                                                                                           Page 2 of 15
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                                                  Proposed Assumed Contract Schedule
Item                          Counterparty                              Debtor(s)                              Contract Description
       CNT PROPERTIES LLC
       ATTN DRU LARSON
1456
       746 CRAIG AVE
       TRACY, MN 56175                                     Dean Foods North Central, LLC   LEASE: BUILDING AND LAND
       CONLIN GUNVILLE PARTNERSHIP
1549   739 S 20TH ST W
       BILLINGS, MT 59102                                  Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 09/01/2006
       CONLIN-GUNVILLE LEASEBACK LLP
1550   739 S 20TH ST W
       BILLINGS, MT 59102                                  Dean Foods Company              LEASE: BUILDING AND LAND DATED 10/23/2017
       CONSOLIDATED RAIL CORPORATION
       ATTN REAL ESTATE DEPT
1567   802 ROCKEFELLER BLDG
       614 SUPERIOR AVE W
       CLEVELAND, OH 44113                                 Reiter Dairy, LLC               LEASE: BUILDING AND LAND DATED 10/20/1980
       CSM PROPERTIES INC
       ATTN BRADLEY KITTLESON, VP
1850
       500 WASHINGTON AVE S, STE 3000
       MINNEAPOLIS, MN 55415                               Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 02/01/2010
       CSM PROPERTIES INC
       C/O CSM CORP
1851
       500 WASHINGTON AVE S, STE 3000
       MINNEAPOLIS, MN 55415                               Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 12/02/2005
       CSM PROPERTIES INC
       C/O CSM CORP
1852
       500 WASHINGTON AVE S, STE 3000
       MINNEAPOLIS, MN 55415                               Dean Foods North Central, LLC   LEASE: BUILDING AND LAND
       CSM PROPERTIES INC
       C/O CSM CORP
1853
       500 WASHINGTON AVE S, STE 3000
       MINNEAPOLIS, MN 55415                               Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 10/11/2016
       DAIRYLAND INC
       ATTN SAL GUAGLIARDO
1942
       PO BOX 5085
       TAMPA, FL 33675                                     Suiza Dairy Group, LLC          LEASE: BUILDING AND LAND
       DAIRYLAND INC
       ATTN SAL GUAGLIARDO
1943
       PO BOX 5085
       TAMPA, FL 33675                                     Suiza Dairy Group, LLC          LEASE: BUILDING AND LAND DATED 08/03/2009
       DAIRYLAND INC
       ATTN SAL GUAGLIARDO
1944
       PO BOX 5085
       TAMPA, FL 33675                                     Suiza Dairy Group, LLC          LEASE: BUILDING AND LAND
       DAVID FARLER
2060   2447 TALLEY ROAD
       BELFAST, TN 37019                                   Dean Foods Company              INDEPENDENT PRODUCER CONTRACT
       DEVILLE, MARY RUBY
       C/O TEET'S FOOD STORE INC
2204
       2144 W MAIN ST
       VILLE PLATTE, LA 70586                              Dean Foods Company              LEASE: BUILDING AND LAND DATED 09/19/2019
        DL PROPERTIES
       ATTN DONN/A LOPEZ
2244
       818 TOM SMITH RD
       LILBURN, GA 30047                                   Dean Dairy Holdings, LLC        LEASE: BUILDING AND LAND
       DOUGLAS G. PETERSON AND VICTORIA D. PETERSON, CO-
       TRUSTEES FOR THE DOUGLAS G. PETERSON TRUST
2305
       4040 NE 25th Ave.
       Ft. Lauderdale, FA 33308                            Southern Foods Group, LLC       LEASE AGREEMENT DATED 1/1/2002
       DUNN, BEN
2351   PO BOX 158
       GROVE HILL, AL 36451                                Dean Dairy Holdings, LLC        VENDOR AGREEMENT
       ECOLAB INC
       ATTN VP CORPORATE ACCTS-FOOD & BEVERAGE
2408
       370 N WABASHA ST
       ST PAUL, MN 55102-2233                              Dean Foods Company              THIRD PARTY PROVIDER (BENEFITS, PAYROLL, FREIGHT)


                                                                                                                                               Page 3 of 15
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                                               Proposed Assumed Contract Schedule
Item                        Counterparty                           Debtor(s)                               Contract Description
       EDDIE'S TRUCK CENTER
       PO BOX 536
2416
       1002 E OMAHA ST
       RAPID CITY, SD 57701                            Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 03/23/2016
       EIDE BAILLY LLP
       ATTN LACEY BRAUN
2441   401 N 31ST ST, STE 1120
       PO BOX 7112
       BILLINGS, MT 59103-7112                         Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 06/19/2018
       ENCORE ENERGY SERVICES INC
2484   11807 Q STREET, STE 1
       OMAHA, NE 68137                                 Dean Foods Company              VENDOR AGREEMENT DATED 10/19/2013
       ENCORE ENERGY SERVICES INC
2485   11807 Q STREET, STE 1
       OMAHA, NE 68137                                 Dean Foods Company              VENDOR AGREEMENT DATED 10/19/2013
        ERNIE JONES
2555   5166 WAYNESBORO HIGHWAY
       LAWRENCEBURG, TN 38464-6879                     Dean Foods Company              INDEPENDENT PRODUCER CONTRACT
       ESTATE OF MARY N NOLES
       C/O GEORGE R NOLES
2566
       2006 N HILLS DR                                Dean Foods Company
       OPELIKA, AL 36803-2418                         Dean Dairy Holdings, LLC         LEASE: BUILDING AND LAND
       FORGET ME NOT FARMS II
2760   PO BOX 1240
       CIMARRON, KS 67835                              Dean Foods Company              INDEPENDENT PRODUCER CONTRACT
       FORGET ME NOT FARMS
2762   PO BOX 1240
       CIMARRON, KS 67835                              Dean Foods Company              INDEPENDENT PRODUCER CONTRACT
       FSM PROPERTIES LLC
       ATTN KEN WALTER, SECRETARY
2837   3320 E CENTURY AVE
       PO BOX 448
       BISMARCK, ND 58502                              Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 07/23/2018
       GCC DACOTAH
       ATTN HOLLY THOMAS, ACCT
2899
       501 N SAINT ONGE ST                                                             THIRD PARTY PROFESSIONAL (E.G., LAWYERS, CONSULTANTS,
       RAPID CITY, SD 57702                            Dean Foods North Central, LLC   AUDITORS, ETC.)
       GCC DACOTAH
2900   PO BOX 671507
       DALLAS, TX 75267                                Dean Foods North Central, LLC   LEASE: BUILDING AND LAND
       GCC OF AMERICA
       ATTN BRIAN JOST
2901
       130 RAMPART WY, STE 200
       DENVER, CO 80230                                Dean Foods North Central, LLC   LEASE: BUILDING AND LAND
       GDF ENTERPRISES INC
       ATTN GLENN FRANCIS
2902   73-24TH ST
       PO BOX 101
       WINDOM, MN 56101                                Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 01/01/2017
       GDF ENTERPRISES INC
       ATTN GLENN FRANCIS
2903   73-24TH ST
       PO BOX 101
       WINDOM, MN 56101                                Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 01/01/2017
       GDF ENTERPRISES INC
       ATTN GLENN FRANCIS
2904   73-24TH ST
       PO BOX 101
       WINDOM, MN 56101                                Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 07/01/2003
       GDF ENTERPRISES INC
       ATTN GLENN FRANCIS
2905   73-24TH ST
       PO BOX 101
       WINDOM, MN 56101                                Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 07/01/2003



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Item                           Counterparty                         Debtor(s)                              Contract Description
       GEM DIRT LLC
       ATTN JAYNE PROPST, OPERATIONS MGR
2908
       PO BOX 9751
       TULSA, OK 74157                                  Southern Foods Group, LLC       PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 10/19/2012
       GILMAC DAIRY
2957   4801 EAGLEVILLE PIKE
       CHAPEL HILL, TN 37034                            Dean Foods Company              INDEPENDENT PRODUCER CONTRACT
       HARGOL CORPORATION
       D/B/A UNITED TRAILER LEASING
3140
       10250 XYLITE ST
       BLAINE, MN 55449                                 Dean Foods North Central, LLC   LEASE: EQUIPMENT DATED 01/23/2019
       HARGOL CORPORATION
       D/B/A UNITED TRAILER LEASING
3141
       10250 XYLITE ST
       BLAINE, MN 55449                                 Dean Foods North Central, LLC   LEASE: EQUIPMENT DATED 01/23/2019
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3438
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                  Southern Foods Group, LLC       LEASE: BUILDING AND LAND
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3439
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                  Southern Foods Group, LLC       LEASE: BUILDING AND LAND DATED 04/01/2012
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3440
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                  Southern Foods Group, LLC       LEASE: BUILDING AND LAND
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3441
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                  Southern Foods Group, LLC       LEASE: BUILDING AND LAND
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3442
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                  Southern Foods Group, LLC       LEASE: BUILDING AND LAND DATED 04/01/2012
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3443
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                  Southern Foods Group, LLC       LEASE: BUILDING AND LAND
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3444
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                  Southern Foods Group, LLC       LEASE: BUILDING AND LAND
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3445
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                  Southern Foods Group, LLC       LEASE: BUILDING AND LAND DATED 04/01/2012
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3446
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                  Southern Foods Group, LLC       LEASE: BUILDING AND LAND
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3447
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                  Southern Foods Group, LLC       LEASE: BUILDING AND LAND DATED 06/29/2011
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3448
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                  Southern Foods Group, LLC       LEASE: BUILDING AND LAND
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3449
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                  Southern Foods Group, LLC       LEASE: BUILDING AND LAND




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Item                       Counterparty                               Debtor(s)                          Contract Description
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3450
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                   Southern Foods Group, LLC   LEASE: BUILDING AND LAND DATED 06/29/2011
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3451
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                   Southern Foods Group, LLC   LEASE: BUILDING AND LAND DATED 04/01/2012
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3452
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                   Southern Foods Group, LLC   LEASE: BUILDING AND LAND
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3453
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                   Southern Foods Group, LLC   LEASE: BUILDING AND LAND DATED 04/01/2012
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3454
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                   Southern Foods Group, LLC   LEASE: BUILDING AND LAND
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3455
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                   Southern Foods Group, LLC   LEASE: BUILDING AND LAND
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3456
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                   Southern Foods Group, LLC   LEASE: BUILDING AND LAND
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3457
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                   Southern Foods Group, LLC   LEASE: BUILDING AND LAND
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3458
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                   Southern Foods Group, LLC   LEASE: BUILDING AND LAND DATED 04/01/2012
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3459
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                   Southern Foods Group, LLC   LEASE: BUILDING AND LAND
       INTERAK CORP
       ATTN GREGORY W OLIPHANT
3460
       1437 SOUTH BOULDER AVE, STE 1250
       TULSA, OK 74119                                   Southern Foods Group, LLC   LEASE: BUILDING AND LAND
       INTERAK CORP
3461   PO BOX 50322
       TULSA, OK 74150                                   Dean Foods Company          LEASE: BUILDING AND LAND
       INTERAK CORPORATION
       C/O GABLE GOTWALS
3462   1100 ONEOK PLAZA
       100 W FIFTH ST
       TULSA, OK 74103-4217                              Southern Foods Group, LLC   LEASE: BUILDING AND LAND
       INTERAK CORPORATION
       C/O GABLE GOTWALS
3463   1100 ONEOK PLAZA
       100 W FIFTH ST
       TULSA, OK 74103-4217                              Southern Foods Group, LLC   LEASE: BUILDING AND LAND
       JAN-PRO CLEANING SYSTEMS OF SOUTHEAST LOUISIANA
       200 COMMERCIAL SQUARE
3616
       SLIDELL, LA 70461                                                             THIRD PARTY PROVIDER (BENEFITS, PAYROLL, FREIGHT) DATED
                                                         Dean Foods Company          11/30/2016
       JASAR RECYCLING INC
       ATTN EDWARD L MCNEE, PRESIDENT
3624
       183 EDGEWORTH AVE
       EAST PALESTINE, OH 44413                          Suiza Dairy Group, LLC      PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 09/27/2011


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Item                      Counterparty                            Debtor(s)                              Contract Description
       JEROME DISTRIBUTING INC
       ATTN AMANDA NEIS
3668
       3420 MIRIAM AVE                                                               THIRD PARTY PROFESSIONAL (E.G., LAWYERS, CONSULTANTS,
       BISMARCK, ND 58501                            Dean Foods North Central, LLC   AUDITORS, ETC.)
       JODY DUNIVAN
3690   20 HONEY ROAD
       PETERSBURG, TN 37144                          Dean Foods Company              INDEPENDENT PRODUCER CONTRACT
       JOHN RIVER ENTERPRISES LLC
       ATTN JOHN SNYDER JR
3745
       PO BOX 748
       NEW ROADS, LA 70760                           Southern Foods Group, LLC       LEASE: BUILDING AND LAND DATED 08/11/2010
       JOHNSON FEED INC
       ATTN RON INGEBRIGTSON
3752
       305 W INDUSTRIAL RD
       CANTON, SD 57013                              Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 12/28/2010
       JOHNSON FEED INC
       ATTN RON INGEBRIGTSON
3753
       305 W INDUSTRIAL RD
       CANTON, SD 57013                              Dean Foods North Central, LLC   LEASE: EQUIPMENT DATED 04/04/2018
       JOHNSON FEED INC
       ATTN RON INGEBRIGTSON
3754
       305 W INDUSTRIAL RD
       CANTON, SD 57013                              Dean Foods North Central, LLC   LEASE: EQUIPMENT DATED 04/24/2018
       JOST CEMENT LLC
       ATTN BRIAN JOST
3778   428 COLTON AVE
       PO BOX 69
       BURLINGTON, ND 58722                          Dean Foods North Central, LLC   LEASE: BUILDING AND LAND
       JR ANSTINE'S WAREHOUSE LEASING
3805   12631 220TH STREET
       PARK RAPIDS, MN 56470                         Dean Foods Company              LEASE: BUILDING AND LAND
       JS COMPLIANCE LLC
3806   330 RAYFORD RD 319
       SPRING, TX 77386                              Dean Foods Company              THIRD PARTY PROVIDER (BENEFITS, PAYROLL, FREIGHT)
       K & S ENTERPRISES LLC
3818   2775 PELZER AVE
       MONTGOMERY, AL 36109                          Dean Dairy Holdings, LLC        LEASE: BUILDING AND LAND DATED 06/25/2019
       K & S ENTERPRISES LLC
3819   2775 PELZER AVE
       MONTGOMERY, AL 36109                          Dean Dairy Holdings, LLC        LEASE: BUILDING AND LAND DATED 12/01/2010
       K & S ENTERPRISES LLC
3820   401 PAUL RD
       MONTGOMERY, AL 36108                          Southern Foods Group, LLC       LEASE: BUILDING AND LAND DATED 05/25/2004
       K & S ENTERPRISES LLC
3821   401 PAUL RD
       MONTGOMERY, AL 36108                          Southern Foods Group, LLC       LEASE: BUILDING AND LAND DATED 06/08/1999
       KEKERIX, PAUL VAN
3860   1012 9TH AVE
       ROCK VALLEY, IA 51247                         Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 01/16/2013
       KEMPENAAR DAIRY LLC
3870   3362 COUNTY ROAD 2346
       COMO, TX 75431                                Dean Foods Company              INDEPENDENT PRODUCER CONTRACT
       KROEKER FARMS USA INC
       ATTN AL GIESBRECHT
3962
       299 GATEWAY DR NE
       EAST GRAND FORKS, MN 56721                    Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 05/15/2019
       MAGUIRE EQUIPMENT INC
       ATTN THOMAS MAGUIRE, VP
4352
       PO BOX 13
       HYDE PARK, MA 02137                           Dean Foods North Central, LLC   PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 06/11/2019
       MAGUIRE EQUIPMENT INC
       ATTN THOMAS MAGUIRE, VP
4353
       PO BOX 13
       HYDE PARK, MA 02137                           Dean Foods North Central, LLC   PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 06/04/2019



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Item                       Counterparty                           Debtor(s)                              Contract Description
       MAGUIRE EQUIPMENT INC
       ATTN THOMAS MAGUIRE, VP
4354
       PO BOX 13
       HYDE PARK, MA 02137                           Southern Foods Group, LLC       PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 09/09/2019
       MAIZE PROPERTIES INC
       ATTN TIM GUTORMSON
4365
       239 34TH AVE
       BROOKINGS, SD 57006                           Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 10/23/2015
       MAIZE PROPERTIES INC
       ATTN TIM GUTORMSON
4366
       239 34TH AVE
       BROOKINGS, SD 57006                           Dean Foods North Central, LLC   LEASE: BUILDING AND LAND
       MAIZE PROPERTIES INC
       ATTN TIM GUTORMSON
4367
       239 34TH AVE
       BROOKINGS, SD 57006                           Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 12/02/2013
       MAIZE PROPERTIES INC
       ATTN TIM GUTORMSON
4368
       239 34TH AVE
       BROOKINGS, SD 57006                           Dean Foods North Central, LLC   LEASE: BUILDING AND LAND
       MARINER CONSTRUCTION
       ATTN DOUG HANSON
4415
       1771 W CAVALRY DR                                                             THIRD PARTY PROFESSIONAL (E.G., LAWYERS, CONSULTANTS,
       BISMARCK, ND 58504                            Dean Foods Company              AUDITORS, ETC.) DATED 08/23/2019
       MARK HOBBY
4419   1711 MOORESVILLE ROAD
       CULLEOKA, TN 38451                            Dean Foods Company              INDEPENDENT PRODUCER CONTRACT
       MARK SAND & GRAVEL CO
4430   PO BOX 458
       FARGUS FALL, MN 56538                         Dean Foods Company              LEASE: BUILDING AND LAND
       MARK SAND & GRAVEL CO
4431   PO BOX 458
       FARGUS FALL, MN 56538                         Dean Foods Company              LEASE: BUILDING AND LAND DATED 04/20/2017
       MARK SAND & GRAVEL CO
4432   PO BOX 458
       FARGUS FALL, MN 56538                         Dean Foods Company              LEASE: BUILDING AND LAND DATED 02/02/2011
       MARK SAND & GRAVEL CO
4433   PO BOX 458
       FARGUS FALL, MN 56538                         Dean Foods Company              LEASE: BUILDING AND LAND DATED 04/20/2017
       MAX D. TODD
4525   2397 BLACKWELL ROAD
       CHAPEL HILL, TN 37034                         Dean Foods Company              INDEPENDENT PRODUCER CONTRACT
       MAYFIELD DAIRIES
4530   4221 E 19TH AVE
       TAMPA, FL 33605                               Dean Foods Company              LEASE: BUILDING AND LAND
       MAYFIELD DAIRIES
4531   4221 E 19TH AVE
       TAMPA, FL 33605                               Suiza Dairy Group, LLC          LEASE: AUTO DATED 04/16/2009
       METRO DISPOSAL SERVICE INC
4624   9641 OLD GENTILLY RD
       NEW ORLEANS, LA 70127                         Southern Foods Group, LLC       PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 08/14/2017
       MHI INVESTMENTS LLC
       ATTN ANDRE RANSOM
4638
       10557 AIRLINE HWY
       ST. ROSE, LA 70087                            Southern Foods Group, LLC       LEASE: BUILDING AND LAND DATED 02/16/2017
       MHI INVESTMENTS LLC
       ATTN ANDRE RANSOM
4639
       10557 AIRLINE HWY
       ST. ROSE, LA 70087                            Southern Foods Group, LLC       LEASE: BUILDING AND LAND DATED 05/31/2017
        MIDAMERICAN ENERGY COMPANY
       ATTN JOHN REXWINKEL
4666
       924 LINCOLN ST SW, PO BOX 126
       LEMARS, IA 51031                              Dean Foods Company              VENDOR AGREEMENT DATED 10/19/2013




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Item                        Counterparty                             Debtor(s)                             Contract Description
        MIDAMERICAN ENERGY COMPANY
       ATTN JOHN REXWINKEL
4667
       924 LINCOLN ST SW, PO BOX 126
       LEMARS, IA 51031                                 Dean Foods Company              VENDOR AGREEMENT DATED 10/19/2013
       MIDWEST DAIRY RECYCLING LLC
4681   6945 ELM SUGAR RD
       SCOTT, OH 45886                                  Suiza Dairy Group, LLC          PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 02/09/2016
       MIDWEST MOTOR EXPRESS INC
4683   PO BOX 1058
       BISMARCK, ND 58502                               Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 01/11/1999
       MILES CITY MOVING & STORAGE
       ATTN GEORGE HOLOM
4688   702 PACIFIC
       PO BOX 1172
       MILES CITY, MT 59301                             Dean Foods Company              LEASE: BUILDING AND LAND
       MILES CITY MOVING & STORAGE
       ATTN GEORGE HOLOM
4689   702 PACIFIC
       PO BOX 1172
       MILES CITY, MT 59301                             Dean Foods Company              LEASE: BUILDING AND LAND
       MILLER DAIRY
4772   155 AGNEW ROAD
       PULASKI, TN 38478                                Dean Foods Company              INDEPENDENT PRODUCER CONTRACT
       NOLES, MARY N
5043   1982 GILMER AVE                                  Dean Foods Company
       TALLASSEE, AL 36078                              Dean Dairy Holdings, LLC        LEASE: BUILDING AND LAND DATED 02/02/2016
       ORANGE COUNTY CONTAINER GROUP LLC
       D/B/A CORRUGATED SERVICES INC
5151
       855 E HWY 80
       FORNEY, TX 75126                                 Southern Foods Group, LLC       PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 02/04/2010
       PARADIS BROTHERS LLP
       ATTN ARNOLD G PARADIS
5216
       PO BOX 97
       BROOKS, MN 56715                                 Dean Foods North Central, LLC   LEASE: BUILDING AND LAND
       PAUL BEVERLY & SCOTT HART
       ATTN H SCOTT HART
5242   OHIO VALLEY INDUSTRIAL PARK
       PO BOX 280
       CHESAPEAKE, OH 45619                             Suiza Dairy Group, LLC          LEASE: BUILDING AND LAND DATED 05/04/2016
       PENSKE TRUCK LEASING CO LP
       ATTN CRAIG FRITZ, SR CONTRACT ANALYST
5260
       2675 MORGANTOWN RD                               Dean Transportation, Inc.
       READING, PA 19607                                Mayfield Dairy Farms, LLC       LEASE: BUILDING AND LAND DATED 02/24/2016
       PENSKE TRUCK LEASING CO LP
       ATTN CRAIG R FRITZ, SR. CONTRACT ANALYST
5261
       2675 MORGANTOWN RD                               Dean Transportation, Inc.
       READING, PA 19607                                Mayfield Dairy Farms, LLC       LEASE: BUILDING AND LAND DATED 02/24/2016
       PENSKE TRUCK LEASING CO LP
       ATTN CRAIG R FRITZ, SR. CONTRACT ANALYST
5263
       2675 MORGANTOWN RD                               Dean Transportation, Inc.
       READING, PA 19607                                Mayfield Dairy Farms, LLC       LEASE: BUILDING AND LAND DATED 01/29/2016
       PENSKE TRUCK LEASING CO LP
       ATTN KELLY TAYLOR, NATIONAL SUPPORT EXEC
5268
       3575 LONE STAR CIRCLE, STE 310
       FORT WORTH, TX 76177                             Dean Transportation, Inc.       LEASE: BUILDING AND LAND DATED 06/05/2018
       PEOPLE'S BANK AND TRUST COMPANY
       ATTN STEPHEN DAVID
5296
       PO DRAWER 747
       NEW ROADS, LA 70760                              Southern Foods Group, LLC       LEASE: BUILDING AND LAND
       PEOPLE'S BANK AND TRUST COMPANY
       ATTN STEPHEN DAVID
5297
       PO DRAWER 747
       NEW ROADS, LA 70760                              Southern Foods Group, LLC       LEASE: BUILDING AND LAND DATED 08/12/2014




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Item                       Counterparty                              Debtor(s)                             Contract Description
       PEOPLE'S BANK AND TRUST COMPANY
       ATTN STEPHEN DAVID
5298
       PO DRAWER 747
       NEW ROADS, LA 70760                              Southern Foods Group, LLC       LEASE: BUILDING AND LAND DATED 03/29/2017
       PEOPLE'S BANK AND TRUST COMPANY
       ATTN STEPHEN DAVID
5299
       PO DRAWER 747
       NEW ROADS, LA 70760                              Southern Foods Group, LLC       LEASE: BUILDING AND LAND DATED 03/24/2015
       PEOPLE'S BANK AND TRUST COMPANY
       ATTN STEPHEN DAVID
5300
       PO DRAWER 747
       NEW ROADS, LA 70760-0747                         Southern Foods Group, LLC       LEASE: BUILDING AND LAND DATED 06/19/2019
       PETE'S PLACE SOUTH
5329   179 CONVENENCE LN SW
       BEMIDIJI, MN 56601                               Dean Foods Company              LEASE: BUILDING AND LAND DATED 01/19/2011
       PROGRESSIVE WASTE SOLUTIONS OF LA INC
       7923 TOM DR
5532
       BATTON ROUGE, LA 76806
                                                        Southern Foods Group, LLC       PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 04/23/2015
       RED HAWK FIRE & SECURITY
       ATTN LAURA CURTIS
5638
       3303 TULANE AVE                                  Dean Dairy Holdings, LLC
       NEW ORLEANS, LA 70119                            Dean Foods Company              MAINTENANCE: EQUIPMENT
       RED HAWK FIRE & SECURITY
5639   ATTN LAURA CURTIS                                Dean Dairy Holdings, LLC        MAINTENANCE: EQUIPMENT DATED 01/14/2019
       REGIONS BANK AS TRUSTEES OF THE JOHN B LAGARDE
       CHARITABLE ANNUITY LEAD TRUST
5658   ATTN REGIONS BANK TRUST REAL ESTATE DEPT
       PO BOX 10463
       BIRMINGHAM, AL 35202                             Dean Dairy Holdings, LLC        LEASE: BUILDING AND LAND DATED 09/20/2018
       REGIONS BANK AS TRUSTEES OF THE JOHN B LAGARDE
       CHARITABLE ANNUITY LEAD TRUST
5659   ATTN REGIONS BANK TRUST REAL ESTATE DEPT
       PO BOX 10463
       BIRMINGHAM, AL 35202                             Dean Dairy Holdings, LLC        LEASE: BUILDING AND LAND DATED 09/20/2018
       REGIONS BANK AS TRUSTEES OF THE JOHN B LAGARDE
       CHARITABLE ANNUITY LEAD TRUST
5660   ATTN REGIONS BANK TRUST REAL ESTATE DEPT
       PO BOX 10463
       BIRMINGHAM, AL 35202                             Dean Dairy Holdings, LLC        LEASE: BUILDING AND LAND DATED 03/31/2014
        REPUBLIC SERVICES INC
5682   4325 66TH ST E
       INVER GROVE HEIGHTS, MN 55076                    Dean Foods North Central, LLC   PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 08/24/2012
       REPUBLIC SERVICES INC
       ATTN ADAM JIMERSON, SALES MGR
5683
       4704 COMMERCIAL DR NW
       HUNTSVILLE, AC 35816                             Dean Dairy Holdings, LLC        PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 01/07/2016
       REPUBLIC SERVICES INC
       ATTN JEFF FISHBAUGH, DSM
5689
       12976 ST CHARLES ROCK RD
       BRIDGETON, MO 63044                              Suiza Dairy Group, LLC          PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 09/25/2015
       REPUBLIC SERVICES INC
       ATTN JEFF KING, DSM
5690
       7540 SW 59TH
       OKLAHOMA CITY, OK 73179                          Southern Foods Group, LLC       PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 06/29/2011
       REPUBLIC SERVICES INC
       ATTN LARRY K MCGEE, DSM
5693
       3950 50TH ST SW
       BIRMINGHAM, AL 35221                             Dean Dairy Holdings, LLC        PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 02/24/2012
       RICHARD W. SMITH
       DBA RIVER BEND DAIRY
5730
       353 BURNT HILL ROAD
       UNIONVILLE, TN 37180                             Dean Foods Company              INDEPENDENT PRODUCER CONTRACT
       ROGER AND JUDY SPRY
5853   265 GEORGE DUKE LANE
       MORRISON, TN 37357                               Dean Foods Company              INDEPENDENT PRODUCER CONTRACT

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Item                      Counterparty                             Debtor(s)                              Contract Description
       RON JENSENS CLEANING
       ATTN RON JENSEN
5876
       400 N BELL ST                                                                  THIRD PARTY PROFESSIONAL (E.G., LAWYERS, CONSULTANTS,
       BISMARCK, ND 58501                             Dean Foods North Central, LLC   AUDITORS, ETC.) DATED 10/22/2017
       RONNIE OR COREY TROUT
5885   2584 BEASLEY ROAD
       CHAPEL HILL, TN 37034                          Dean Foods Company              INDEPENDENT PRODUCER CONTRACT
       RUMMAGE HOLSTEINS
5933   2310 TINDELL LANE
       COLUMBIA, TN 38401                             Dean Foods Company              INDEPENDENT PRODUCER CONTRACT
       RYDER TRUCK RENTAL INC
5966   11690 NW 105TH ST
       MIAMI, FL 33178                                Country Fresh, LLC              MAINTENANCE: EQUIPMENT DATED 03/19/2015
       RYDER TRUCK RENTAL INC
5968   11690 NW 105TH ST
       MIAMI, FL 33178                                Country Fresh, LLC              MAINTENANCE: EQUIPMENT DATED 03/19/2015
       RYDER TRUCK RENTAL INC
5990   632 WEST CARSON #0168
       BRYAN, TX 77801                                Dean Transportation, Inc.       SERVICE CONTRACT DATED 01/25/2016
       RYDER TRUCK RENTAL INC
5991   632 WEST CARSON #0168
       BRYAN, TX 77801                                Dean Transportation, Inc.       SERVICE CONTRACT DATED 01/25/2016
       RYDER TRUCK RENTAL INC
       ATTN CORPORATE REAL ESTATE
6003
       11690 NW 105TH ST
       MIAMI, FL 33178                                Dean Transportation, Inc.       SERVICE CONTRACT DATED 07/14/2015
       RYDER TRUCK RENTAL INC
6004
       ATTN CORPORATE REAL ESTATE                     Country Fresh, LLC              LEASE: BUILDING AND LAND DATED 02/20/2015
       RYDER TRUCK RENTAL INC
       ATTN CORPORATE REAL ESTATE
6010
       11690 NW 105TH ST
       MIAMI, FL 33178-1103                           Dean Transportation, Inc.       SERVICE CONTRACT DATED 07/14/2015
       RYDER TRUCK RENTAL INC
       ATTN CORPORATE REAL ESTATE
6011
       11690 NW 105TH ST
       MIAMI, FL 33178-1103                           Dean Transportation, Inc.       SERVICE CONTRACT DATED 01/25/2016
       RYDER TRUCK RENTAL INC
6025
       ATTN GENERAL COUNSEL                           Dean Dairy Holdings, LLC        MAINTENANCE: EQUIPMENT DATED 09/01/2008
       RYDER TRUCK RENTAL INC
6027
       ATTN GENERAL COUNSEL                           Dean Transportation, Inc.       MAINTENANCE: EQUIPMENT DATED 02/01/2015
       RYDER TRUCK RENTAL INC
       ATTN GENERAL COUNSEL
6028
       11690 NW 105TH ST
       MIAMI, FL 33178-1103                           Dean Transportation, Inc.       MAINTENANCE: EQUIPMENT DATED 02/01/2015
       RYDER TRUCK RENTAL INC
       D/B/A RYDER TRANSPORTATION SERVICES
6077
       11690 NW 105TH ST
       MIAMI, FL 33178                                Southern Foods Group, LLC       MAINTENANCE: EQUIPMENT DATED 04/14/2014
       RYDER TRUCK RENTER INC
       ATTN CORPORATE REAL ESTATE
6089
       11690 NW 105TH ST
       MIAMI, FL 33178-1103                           Suiza Dairy Group, LLC          LEASE: AUTO DATED 04/16/2009
       SAGO INVESTMENTS
       ATTN MARK BRYARS
6106
       424 HICKS ST                                   Mayfield Dairy Farms, LLC
       WAYCROSS, GA 31501                             Dean Foods Company              LEASE: BUILDING AND LAND
       SAGO INVESTMENTS
       ATTN MARK BRYARS
6107
       424 HICKS ST
       WAYCROSS, GA 31501                             Suiza Dairy Group, LLC          LEASE: BUILDING AND LAND
       SHARP JOHN
6294   PO BOX 206
       BROKEN ARROW, OK 74013                         Southern Foods Group, LLC       LEASE: BUILDING AND LAND DATED 10/31/2017
       SHELTON DAIRY
6298   315 M G ENGLAND ROAD
       MANCHESTER, TN 37355                           Dean Foods Company              INDEPENDENT PRODUCER CONTRACT

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                                                   Proposed Assumed Contract Schedule
Item                       Counterparty                               Debtor(s)                              Contract Description
       SHINE HOLLOW DAIRY
6308   6430 LAMB ROAD
       COLLEGE GROVE, TN 37046                           Dean Foods Company              INDEPENDENT PRODUCER CONTRACT
       SIMPSON HONEY FARMS
       ATTN JIM SIMPSON
6331
       702 PACIFIC AVE                                                                   THIRD PARTY PROFESSIONAL (E.G., LAWYERS, CONSULTANTS,
       MILES CITY, MT 59301                              Dean Foods North Central, LLC   AUDITORS, ETC.)
       SIMPSON, JAMES AND MICHELLE DBA SIMPSON HONEY
       FARMS
6332   ATTN JIM SIMPSON
       702 PACIFIC AVE
       MILES CITY, MT 59301                              Dean Foods Company              LEASE: BUILDING AND LAND
       SIOUX MERCHANT PATROL INC
       ATTN JESSE CALLAHAN, PRESIDENT
6342
       1501 N CLEVELAND AVE
       SIOUX FALLS, SD 57103                             Dean Foods Company              PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 01/20/2014
       SMITH, JERRY
6381   1130 COMMERCE DR
       MADISON, GA 30650                                 Dean Dairy Holdings, LLC        LEASE: BUILDING AND LAND DATED 02/02/2015
       SMITH, JERRY
6382   1130 COMMERCE DR
       MADISON, GA 30650                                 Dean Dairy Holdings, LLC        LEASE: BUILDING AND LAND
       SOUKUP CONSTRUCTION INC
6430   PO BOX 89106
       SIOUX FALLS, SD 57109                             Dean Foods Company              PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 10/14/2019
       STANLEY CONVERGENT SECUIRTY SOLUTIONS INC
       ATTN NATALIE PEVEY, SECURITY REP
6541   55 SHUMAN BLVD
       NAPERVILLE, IL 60563                              Southern Foods Group, LLC       PROFESSIONAL SERVICE CONTRACT (& TEMPS) DATED 03/14/2017
        STEENSMA, BEN
       511 MINNESOTA AVE
6682
       LUVERNE, MN 56156
                                                         Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 07/22/2011
        STEENSMA, MARK
6683   511 MINNESOTA AVE
       LUVERNE, MN 56156                                 Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 01/13/2014
        STEENSMA, MARK
6684   511 MINNESOTA AVE
       LUVERNE, MN 56156                                 Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 01/13/2014
       STRANCO SOLID WASTE MANAGEMENT COMPANY LLC
       ATTN FRANK PECORARO, SALES MGR
6717
       70459 HWY 59                                                                      THIRD PARTY PROVIDER (BENEFITS, PAYROLL, FREIGHT) DATED
       ABITA SPRINGS, LA 70420                           Southern Foods Group, LLC       04/14/2016
       STRANCO SOLID WASTE MANAGEMENT COMPANY LLC
       ATTN PETER KIRK, FEL MGR
6718
       70459 HWY 59                                                                      THIRD PARTY PROVIDER (BENEFITS, PAYROLL, FREIGHT) DATED
       ABITA SPRINGS, LA 70420                           Southern Foods Group, LLC       07/22/2016
       SYSCO NORTH DAKOTA
       3225 12TH AVE N
6979
       FARGO, ND 58102-3029
                                                         Dean Foods Company              LEASE: BUILDING AND LAND DATED 11/30/2012
        TERRA RENEWAL SERVICES INC
       ATTN TOBY HARTLEROAD
7068
       251 O'CONNOR RIDGE BLVD, STE 300
       IRVING, TX 75038                                  Southern Foods Group, LLC       ENVIRONMENTAL CLEAN-UP AGREEMENT DATED 03/12/2018
        TERRA RENEWAL SERVICES INC
       ATTN TOBY HARTLEROAD
7069
       251 O'CONNOR RIDGE BLVD, STE 300
       IRVING, TX 75038                                  Southern Foods Group, LLC       ENVIRONMENTAL CLEAN-UP AGREEMENT DATED 03/12/2018
        TERRA RENEWAL SERVICES INC
       ATTN TOBY HARTLEROAD
7070
       251 O'CONNOR RIDGE BLVD, STE 300
       IRVING, TX 75038                                  Southern Foods Group, LLC       ENVIRONMENTAL CLEAN-UP AGREEMENT




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                                                   Proposed Assumed Contract Schedule
Item                       Counterparty                               Debtor(s)                              Contract Description
        TERRA RENEWAL SERVICES INC
       ATTN TOBY HARTLEROAD
7071
       251 O'CONNOR RIDGE BLVD, STE 300
       IRVING, TX 75038                                  Southern Foods Group, LLC       THIRD PARTY PROVIDER (BENEFITS, PAYROLL, FREIGHT)
       TERRY HOLDINGS LLC
       ATTN RICHARD TERRY
7075
       9209 LEE ROAD
       SMITH STATION, AL 36877                           Dean Dairy Holdings, LLC        LEASE: BUILDING AND LAND DATED 10/12/2018
       TERRY HOLDINGS LLC
       ATTN RICHARD TERRY
7076
       9209 LEE ROAD
       SMITH STATION, AL 36877                           Dean Dairy Holdings, LLC        LEASE: BUILDING AND LAND DATED 03/14/2011
       TERRY HOLDINGS LLC
       ATTN RICHARD TERRY
7077
       9209 LEE ROAD
       SMITH STATION, AL 36877                           Dean Dairy Holdings, LLC        LEASE: BUILDING AND LAND DATED 10/12/2018
       TERRY HOLDINGS LLC
       ATTN RICHARD TERRY
7078
       9209 LEE ROAD
       SMITH STATION, AL 36877                           Dean Dairy Holdings, LLC        LEASE: BUILDING AND LAND
        TIGER DISCOUNT INC
       TRUCK STOP
7127   PO BOX 2140
       I-94 AND EAST BUSINESS 10
       DICKINSON, ND 58602                               Dean Foods North Central, LLC   LEASE: BUILDING AND LAND
       TOOMBS BROS. DAIRY
7177   4042 BUCK MATTHEWS ROAD
       COLUMBIA, TN 38401                                Dean Foods Company              INDEPENDENT PRODUCER CONTRACT
       TRINITY REALTY GROUP LLC
       ATTN JERRY SHEPPARD, TRINITY VAN BORN LLC
7262
       4624 13 ST
       WYANDOTTE, MI 48192                               Country Fresh, LLC              LEASE: BUILDING AND LAND DATED 09/01/2014
       TRINITY REALTY GROUP LLC
       ATTN JERRY SHEPPARD, TRINITY VAN BORN LLC
7263
       4624 13 ST
       WYANDOTTE, MI 48192                               Country Fresh, LLC              LEASE: BUILDING AND LAND DATED 02/01/2014
       TRINITY REALTY GROUP LLC
       ATTN JERRY SHEPPARD, TRINITY VAN BORN LLC
7264
       4624 13 ST
       WYANDOTTE, MI 48192                               Country Fresh, LLC              LEASE: BUILDING AND LAND DATED 07/27/2016
       TRIPLE T DAIRY
7271   32 TAYLOR DAIRY ROAD
       FAYETTEVILLE, TN 37334                            Dean Foods Company              INDEPENDENT PRODUCER CONTRACT
       VALLEY INDUSTRIAL PARK
       ATTN CRAIG PUZINO
7480
       111 MALTESE DR
       TOTOWA, NJ 07512                                  Suiza Dairy Group, LLC          LEASE: BUILDING AND LAND
        VAN'S SANITATION INC
7551   ATTN SCOTT VANDERSLUIS, PRES
                                                                                         THIRD PARTY PROVIDER (BENEFITS, PAYROLL, FREIGHT) DATED
       1553 18TH ST SW
                                                         Dean Foods North Central, LLC   10/29/2015
       LE MARS IA 51031
        VIDEOJET TECHNOLOGIES INC
       ATTN LEGAL DEPT
7596   1500 MITTEL BLVD
       WOOD DALE, IL 60191                               Southern Foods Group, LLC       MAINTENANCE: EQUIPMENT
       WASTE CONNECTIONS INC
       ATTN KYLE SMITH, TERRITORY MGR
7686   4625 S ROCKWELL                                                                   THIRD PARTY PROVIDER (BENEFITS, PAYROLL, FREIGHT) DATED
       OKLAHOMA CITY, OK 73179                           Southern Foods Group, LLC       06/22/2016
       WASTE CONNECTIONS OF SOUTH DAKOTA INC
       D/B/A NOVAK SANITARY SERVICE
7687   ATTN BUTCH HANSSEN, SALES MGR
                                                                                         THIRD PARTY PROVIDER (BENEFITS, PAYROLL, FREIGHT) DATED
       5000 W 8TH ST
                                                         Dean Foods North Central, LLC   10/22/2015
       SIOUX FALLS SD 57107




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                                                 Proposed Assumed Contract Schedule
Item                        Counterparty                             Debtor(s)                              Contract Description
       WASTE INDUSTRIES USA INC
       ATTN CASSANDRA WHITTINGTON, BROKER CSR
7689
       3301 BENSON DR, STE 601                                                          THIRD PARTY PROVIDER (BENEFITS, PAYROLL, FREIGHT) DATED
       RALEIGH, NC 27604                                Mayfield Dairy Farms, LLC       01/05/2017
       WEELBORG, WAYNE
7725   PO BOX 22
       BRYANT, SD 57221                                 Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 12/03/2004
       WEELBORG, WAYNE
7726   PO BOX 22
       BRYANT, SD 57221                                 Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 12/03/2004
       WESTERN SD PROPERTIES
       ATTN RANDY PIERRET
7795
       25047 488 AVE
       SHERMAN, SD 57030                                Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 04/16/2015
       WESTERN SD PROPERTIES
7796   ATTN RANDY PIERRET                               Dean Foods North Central, LLC   LEASE: BUILDING AND LAND
       WHITE, J.B.
7814   PO BOX 616                                       Mayfield Dairy Farms, LLC       LEASE: BUILDING AND LAND
        WHITE, J.B.
7815   PO BOX 616
       JACKSON, GA 30233                                Mayfield Dairy Farms, LLC       LEASE: BUILDING AND LAND DATED 09/27/2016
        WHITNEY ENTERPRISES LLC
       ATTN DANNY WEBB
7819
       617 TOWNE HOLLOW RD
       LOCHGELLY, WV 25866                              Suiza Dairy Group, LLC          LEASE: BUILDING AND LAND
        WHITNEY ENTERPRISES LLC
       ATTN DANNY WEBB
7820
       617 TOWNE HOLLOW RD
       LOCHGELLY, WV 25866                              Suiza Dairy Group, LLC          LEASE: BUILDING AND LAND
       PENSKE TRUCK LEASING CO LP
       ATTN SVP SOUTH CENTRAL REGION
5273
       RT 10 & PHEASANT RD
       READING, PA 19607                                Dean Dairy Holdings, LLC        MAINTENANCE: EQUIPMENT DATED 11/01/2008
       PENSKE TRUCK LEASING CO LP
       ATTN SVP SOUTH CENTRAL REGION
5274
       RT 10 & PHEASANT RD
       READING, PA 19607                                Dean Transportation, Inc.       MAINTENANCE: EQUIPMENT DATED 08/30/2008
       PENSKE TRUCK LEASING CO LP
       ATTN SVP SOUTH CENTRAL REGION
5280
       RT 10 & PHEASANT RD
       READING, PA 19607                                Dean Transportation, Inc.       MAINTENANCE: EQUIPMENT DATED 06/18/2008
       WILHITE, TOM
7827   901 N WASHINGTON
       BISMARCK, ND 58501                               Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 05/08/2012
       WILHITE, TOM
7828   901 N WASHINGTON
       BISMARCK, ND 58501                               Dean Foods North Central, LLC   LEASE: BUILDING AND LAND DATED 11/26/2013
       WILLIAMS, JAMES R
7862   708 CLIFT ROAD
       TUPELO, MS 38804                                 Dean Dairy Holdings, LLC        LEASE: BUILDING AND LAND DATED 02/15/2012
        WINN-DIXIE LOUISIANA INC
       ATTN RICHARD P MCCOOK, VP
7898
       5050 EDGEWOOD COURT
       JACKSONVILLE, FL 32203-0297                      Dean Foods Company              LEASE: BUILDING AND LAND DATED 08/10/1999
       WRT REALTY INC
7950   PO BOX 380
       TULSA, OK 74101                                  Southern Foods Group, LLC       LEASE: BUILDING AND LAND DATED 05/02/2005
       WRT REALTY INC
7951   PO BOX 380
       TULSA, OK 74101                                  Southern Foods Group, LLC       LEASE: BUILDING AND LAND
       WRT REALTY INC
7952   PO BOX 380
       TULSA, OK 74101                                  Southern Foods Group, LLC       LEASE: BUILDING AND LAND DATED 02/17/2017




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                                             Proposed Assumed Contract Schedule
Item                      Counterparty                          Debtor(s)                          Contract Description
       WRT REALTY INC
7953   PO BOX 380
       TULSA, OK 74101                              Southern Foods Group, LLC   LEASE: BUILDING AND LAND DATED 05/01/2008
       WRT REALTY INC
7954   PO BOX 380
       TULSA, OK 74101                              Southern Foods Group, LLC   LEASE: BUILDING AND LAND
       ZSF/WD HAMMOND LLC
       D/B/A EUCLID WAREHOUSES INC
8020   ATTN GREGORY S ETHIER, VP
       ONE CHASE MANHATTAN PLAZA
       NEW YORK, NY 10005                           Dean Foods Company          LEASE: BUILDING AND LAND DATED 08/10/1999




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                                                                                     Proposed Assumed Contract Schedule

             Item*                            Counterparty                                       Debtor(s)                                    Contract Description                  Revised Cure Amount

                      7006 Fallbrook, LLC
            8044
                      1054 Fallbrook Lane
                      Woodbury, MN 55125                                            Dean Foods North Central, LLC        LEASE: BUILDING AND LAND                                   $          2,175.00

                      7006 Fallbrook, LLC
            8045
                      1054 Fallbrook Lane
                      Woodbury, MN 55125                                            Dean Foods North Central, LLC        LEASE: BUILDING AND LAND DATED 10/29/2008                  $               -

                      7006 Fallbrook, LLC
            8046
                      1054 Fallbrook Lane
                      Woodbury, MN 55125                                            Dean Foods North Central, LLC        LEASE: BUILDING AND LAND DATED 09/01/2018                  $               -
                      7006 Fallbrook, LLC
            8047      1054 Fallbrook Lane
                      Woodbury, MN 55125                                            Dean Foods North Central, LLC        LEASE: BUILDING AND LAND DATED 10/29/2008                  $               -

                      7006 Fallbrook, LLC
            8048
                      1054 Fallbrook Lane
                      Woodbury, MN 55125                                            Dean Foods North Central, LLC        LEASE: BUILDING AND LAND DATED 05/28/2013                  $               -

                       4 Suns-Main, LLC
            8049
                      P.O. Box 9949
                      Fargo, ND 58106-9949                                          Dean Foods North Central, LLC        Lease dated 10/31/2019                                     $               -



                      Securitas Security Services SA, Inc.
            8050
                      4330 Park Terrace Drive
                      Attn: Legal Department
                      Westlake Village, CA 91361                                    Suiza Dairy Group, LLC               Security Services Agreement dated 5/6/2008                 $         11,021.59

                      MJ Resurrection dba FW Warehousing
            8051
                      4300 Church Rd.
                      Centreville, IL 66207                                         Suiza Dairy Group, LLC               Warehouse Services Agreement                               $               -



            8052      Automated Maintenance Systems, Inc.
                      3615 Seger Drive
                      Rapid City, SD 57701                                          Dean Foods North Central, LLC        Maintenance Service Agreement dated 5/30/2019              $          4,788.99

                      Sioux Merchant Patrol Inc.
            8053
                      1501 N. Cleveland Ave.
                      Sioux Falls, SD 57103                                         Dean Foods North Central, LLC        Security Services Agreement                                $               -

                      Soukup Construction, Inc.
            8054
                      P.O. Box 89106
                      Sioux Falls, SD 57109                                         Dean Foods North Central, LLC        Snow Removal Agreement                                     $               -

                      Jani King of Tulsa, Inc.
            8055
                      5314 S. Yale Ave., Suite 600
                      Tulsa, OK 74135                                               Southern Foods Group, LLC            Maintenance Agreement                                      $          6,533.34

                       Donohue Commercial Service
            8056
                      7676 East 46th Place
                      Tulsa, OK 74145                                               Southern Foods Group, LLC            Maintenance Agreement for Building Environmental Systems   $               -
                      Associated Integrated Supply Chain Solutions
            8057      133 North Swift Road
                      Addison, Illinois 60101                                      Dean Foods North Central, LLC         MAINTENANCE AGREEMENT DATED 01/13/2014                     $               -
                      Associated Integrated Supply Chain Solutions
            8058      133 North Swift Road
                      Addison, Illinois 60101                                      Dean Foods North Central, LLC         MAINTENANCE AGREEMENT DATED 10/29/2019                     $               -
                      Associated Integrated Supply Chain Solutions
            8059      133 North Swift Road
                      Addison, Illinois 60101                                      Dean Foods North Central, LLC         MAINTENANCE AGREEMENT DATED 07/21/2015                     $               -
                      Associated Integrated Supply Chain Solutions
            8060      133 North Swift Road
                      Addison, Illinois 60101                                      Dean Foods North Central, LLC         RENTAL AGREEMENT DATED 06/13/2019                          $               -
                      Associated Integrated Supply Chain Solutions
            8061      133 North Swift Road
                      Addison, Illinois 60101                                      Dean Foods North Central, LLC         SERVICE CONTRACT DATED 10/20/2016                          $               -
                      Associated Integrated Supply Chain Solutions
            8062      133 North Swift Road
                      Addison, Illinois 60101                                      Dean Foods North Central, LLC         SERVICE CONTRACT DATED 05/29/2017                          $               -
                      Leasing Services, LLC
            8063      N112 W15568 Mequon Rd.
                      Germantown, WI 53022                                         Dean Foods North Central, LLC         EQUIPMENT FINANCE AGREEMENT DATED 12/01/2016               $           540.24




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    Unique number generated for convenience in sequential order from those items listed on the Potential Assumed Contracts Schedule.
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                                                            Proposed Assumed Contract Schedule

Item                        Counterparty                               Debtor(s)                             Contract Description               Revised Cure Amount
       Leasing Services, LLC
8064   N112 W15568 Mequon Rd.
       Germantown, WI 53022                               Dean Foods North Central, LLC   EQUIPMENT FINANCE AGREEMENT DATED 03/07/2017          $              -
       Leasing Services, LLC
8076   N112 W15568 Mequon Rd.
       Germantown, WI 53022                               Dean Foods North Central, LLC   EQUIPMENT FINANCE AGREEMENT DATED 11/14/2017          $              -
       NuLife Lawn Care & Snow Removal
8065   13826 40th St. N
       Stillwater, MN 55082                               Dean Foods North Central, LLC   SERVICE CONTRACT DATED 01/29/2018                     $              -
       OSHA/Environmental Compliance Systems
8066   2111 Main Ave. E, Suite 12
       West Fargo, ND 58078                               Dean Foods North Central, LLC   ENVIRONMENTAL AGREEMENT DATED 02/23/2018              $              -
       ReAct Corp.
8067   5563 E. Anding
       Catawissa, MO 63015                                Dean Foods North Central, LLC   MAINTENANCE AGREEMENT DATED 07/18/2018                $              -
       Soukup Construction, Inc.
8068   P.O. Box 89106
       Sioux Falls, SD 57109                              Dean Foods North Central, LLC   SNOW REMOVAL AGREEMENT DATED 10/14/2019               $              -
       Tennant Company
8069   701 North Lilac Drive
       Minneapolis, MN 55440                              Dean Foods North Central, LLC   RENTAL AGREEMENT DATED 11/14/2016                     $              -
       Tennant Company
8070   701 North Lilac Drive
       Minneapolis, MN 55440                              Dean Foods North Central, LLC   SERVICE CONTRACT DATED 03/01/2017                     $              -
       VideoJet
8071   1500 Mittel Blvd.                                                                  PROTECTIVE PACKAGE AGREEMENT WITH EQUIPMENT LEASING
       Wood Dale, IL 60191-1043                           Dean Foods North Central, LLC   DATED 12/27/2017                                      $              -
       Vollmer Snow Removal, LLC
8072    3601 153rd ST SE
       Norwich, ND 58768                                  Dean Foods North Central, LLC   SNOW REMOVAL AGREEMENT DATED 10/11/2019               $           280.00
       Valley Markets, Incorporated dba Hugo's
8073   1750 32nd Avenue S #A
       Grand Forks, ND 58201                              Dean Foods North Central, LLC   SLOTTING AGREEMENT DATED 02/01/2013                   $              -
       Morningstar Foods, LLC
8074   2711 N HASKELL AVE, STE 3800
       DALLAS, TX 75204                                   Dean Foods Company              TRADEMARK LICENSE AGREEMENT DATED 01/01/2013          $              -
       QRS, Inc.
8075   6025 Byassee Dr.
       St. Louis, MO 63042                                Suiza Dairy Group, LLC          RECYCLE SERVICE AGREEMENT DATED 08/16/2010            $              -




                                                                                                                                                            Page 2 of 2
